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. IN RE DIET DRUGS (PHENTERMINE/FENFLURAMINE/
| DEXFENFLURAMINE) PRODUCTS LIABILITY LITIGATION- ea THe O24)

 

Grtriak Pomeeo y, WYETH CV04-OR SEE AS,
(SEE AT rats ED SCHEDULE) 3 DISTRICT COURT

 
  

CONDITIONAL TRANSFER ORDER (CTO-129)
: CENTA
On December 10, 1997, the Panel transferred nine civil actions to the United Sfat8& District
Court for the Eastem District of Pennsylvania for coordinated or consolidated pretrial” a,
procéédings pursuant to 28 U:S.C-§ 1407.-Since that time, 6,843 additional actions have been
transferred to the Eastern District of Pennsylvania. With the consent of that court, all such

actions have been assigned to the Honorable Harvey Bartle Ill.

 

 

It appears that the actions on this conditional transfer order involve questions of fact which are
common to the actions previously transferred to the Eastern District of Pennsyivania and

assigned to Judge Bartle.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation,
199 F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the

Eastern District of Pennsylvania for the reasons stated in the order of December 10, 1997, (1997
WL 774-929), as amended on January 6, 1998, cited at 990 F.Supp. 834 (J.P.M.L. 1998), and,
with the consent of that court, assigned to the Honorable Harvey Bartle Il.

This order does not become <ifective until it is filed in the Office of the Clerk of the United
States District Court for the Eastern District of Pennsylvania. The transmittal of this order to

said Clerk shall be stayed fifteen (15) days from the entry thereof and if any party files a notice of
opposition with the Clerk of the Panel within this fifteen (15) day period, t the stay will be
continued until further order of the Panel.

THIS CONSTITUTES NOTICE OF ENTRY

 

 

 

 

 

AS REQUIRED BY FRCP, RULE 77(4, FOR THE PANEL:
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Stay is litted. > Michael J. Beck
|i. s Clerk of the Panel
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IN RE DIET DRUGS (PHENTERMINE/FENFLURAMINE/DEXFENFLURAMINE)

DISTRICT DIV. C.A.#

CALIFORNIA CENTRAL
CAC 2 04-989 Karen Sabers v. Wyeth, et al.
CAC 2 04-2179 Felicia Belk, et al. v. Wyeth, et al.
CAC 2 04-2454 Denise Aguilar, et al. v. Wyeth, Inc., et al.
CAC 2 042906 Saundra Diamond v. American Home Products Corp., et al.
CAC 2 04-3013 Thelma G. Wilson v. Wyeth, et al.
CAC 2 043054 Linda M. Bravo, et al. v. Wyeth, et al.
CAC 2 04-3522 Connie Cummings v. American Home Products Corp., et al.
CAC 2 04-3681 Marion F. Baxter v. Wyeth, et al. ~ 7
CAC 2 04-3729 Lonnie Smith v. American Home Products Corp., et al.
CAC -2 04-3730 Shondra Eaton v. American Home Products Corp., et al.
CAC 2 04-3732 Arlene F. Savich v. Wyeth, et al.
CAC 2 04-3755 Houriech Namin v. Wyeth Pharmaceuticals Inc., et al.
CAC 2 04-3869 Heather Stillwell v. Wyeth, et al.
CAC 2 04-3951 Carol Allison v. American Home Products Corp., et al.
CAC 2 04-3953 Christine Fox-Dean v. American Home Products Corp., et al.
CAC 2 04-4149 Rainy Safranek v. Wyeth, et al.
CAC 2 04-4154 Sharon Lewis v. Wyeth, et al.
CAC 2 04-4156 Taline Vartanian v. Wyeth, et al.
CAC 2 04-4159 Della M. Wilbanks v. Wyeth, et al.
CAC 2 04-4210 Larissa Matthews v. Wyeth, et al.
CAC 2 044211 Janice Bennett v. Wyeth, et al.
CAC 2 04-4212 Shirley Dipaola v. Wyeth, et al.
CAC 2 04-4271 Cheryl L. Jackson v. Wyeth, Inc., et al.
CAC 2 04-4272 Winnie J. York-Lomax v. Wyeth, Inc., et al.
CAC 2 04-4274 E, Devra Lee Rutigliano v. Wyeth, Inc., et al.
CAC 2 04-4293 Mary E. Zink v. Wyeth, Inc., et al.
CAC. . 2 04-4297 George Federick Partridge, Jr. v. Wyeth, Inc., et al.
CAC 2 04-4298 Jacqueline Julia Silverman v. Wyeth, Inc., et al.
CAC 2° 04-4301 Marieta Boodaghians v. Wyeth, et al.
CAC 2 04-4304 Nina Ware v. Wyeth, et al.
CAC 2 04-4307 Dan Diaz v. Wyeth, et al.
CAC. 2 04-4321 Esther M.F Sillands v. Wyeth, Inc., et al.
CAC 2 04-4324 Beverly L. Hooker, et al. v. Wyeth, Inc, et al.
CAC 2 04-4325 Thomas P. Camperos v. Wyeth, Inc, et al.
CAC 2 04-4326 Edgar Hart, et al. v. Wyeth, Inc, et al.
CAC 2 04-4328 Cecilia Torres v. Wyeth, et al.
CAC 2 04-4329 Elen Snortland v. Wyeth, et al.
CAC 2 04-4348 Graciela Nevarez v. Wyeth, et al.
CAC 2 04-4349 Marsha Hoffnan, etal. v. Wyeth, et al.
CAC 2 04-4350 Barbara Swinbum, et al. v. Wyeth, et al.

SCHEDULE CTO-129 - TAG ALONG ACTIONS

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SCHEDULE OF ACTIONS (CTO-129) - DOCKET NO. 1203 PAGE 2'OF 13
DISTRICT DIV. C.A.# i
CAC 2 04-4354 James Seymour, et al. v. Wyeth, et al. =
CAC 2. 04-4356 Eulonda Weston, et al. v. Wyeth, et al. x
CAC 2 04-4358 Gabriela Romero, et al. v. Wyeth, et al. On
CAC 2 044369 Michael Nunn, et al. v. Wyeth, et al.
CAC 2 044391 Abenicio I. Rael vy. Wyeth, et al.
CAC 2 04-4409 Susan Jones, et al. v. Wyeth, et al.
CAC 2 04-4410 Karen McAbee v. Wyeth, et al.
CAC 2 04-4411 Lydia Waters v. Wyeth, etal.
CAC 2 04-4412 Shannon Wilkinson v. Wyeth, et al.
CAC 2 04-4424 Leticia Alvarado v. Wyeth, et al.
CAC 2 04-4427 Dollie Farris v. Wyeth, et al.
CAC 2 04-4451 Joanna Testa v. Wyeth, et al.
CAC 2 04-4465 Sane Washington v. Wyeth, etal.
CAC 2 04-4466 Maryalice Toby v. Wyeth, et al.
CAC 2 04-4467 Mad-tine Milthollon v. Wyeth, et al.
“CAC 2 04-4468 John Wyckaert v. Wyeth, et al.
CAC 2.044470 Michael McClure, et al, v. Wyeth, et al. —-
CAC 2 04-4486 Terry Dombrosky v. Wyeth, et al.
CAC 2 04-4487. Gary Glick, et al. v. Wyeth, et al.
CAC 2 04-4489 Stephen Haas, et al. v. Wyeth, et al.
CAC 2 04-4491 Steven Williamson, et al. v. Wyeth, et al.
CAC 2 044511 Sanmel E. Miles v. Wyeth, Inc., et al.
CAC 2 04-4513 Janice Welch v. Wyeth, et al.
CAC 2 04-4515 Clifford A. McKenzie, et al. v. Wyeth, Inc., et al.
CAC 2 044517 DawnM. Balding v. Wyeth, Inc., et al.
CAC 2 04-4547 Brenda Albertz-Crocker v. Wyeth, et al.
CAC 2 04-4553 Albert Presidio, et al. v. Wyeth, et al.
CAC 2 04-4577 Mary Bennett v. Wyeth, et al.
CAC 2 04-4579 Paul Amorino, et al. v. Wyeth, et al.
CAC 2 04-4581 Cynthia Culp v. Wyeth, Inc., et al.
CAC 2. 04-4582 Kathy Krauss, et al. vy. Wyeth, et al.
CAC 2 04-4584 Mary L. Wiltshire v. Wyeth, Inc., et al.
CAC 2 04-4587 Christine Riesen v. Wyeth, et al.
CAC 2 04-4614 Peter Demel, et al. v. Wyeth, et al. _ ee
CAC 2 04-4616 Charles Shea, et al. v. Wyeth, et al.
CAC 2 04-4620 Rosie Tonga v. Wyeth, etal.
CAC 2 04-4621 Karen K. Perry v. American Home Products Comp., et al.
CAC 2 04-4622 Robin Brandon v. Wyeth, et al.
CAC 2 04-4623 Jo Ann Loveland v. Wyeth, et al.
CAC 2 04-4624 Susan E. Huthmacher v. Wyeth, Inc., et al.
CAC 2° 04-4625 David Villa v. Wyeth, et al.
CAC 2 04-4627 Kelly Mercado, et al. v. Wyeth, et al.
CAC 2 04-4629 Sue Moonsamy v. American Home Products Corp., et al.
CAC 2 04-4632 Christy R. Foley v. American Home Products Corp., et al.
CAC 2 04-4634 Louise Tyndall v. Wyeth, et al
CAC 2 04-4646 Henrietta Clark v. Wyeth, et al.
CAC 2 04-4647 Ana Maria Gochez, et al. v. Wyeth, et al.
CAC 2 04-4649 Charlene Handel v. Wyeth, et al.
CAC 2 04-4662 Angelica Espinoza v. Wyeth, et al.
CAC 2° 04-4664 Jinia Espino v. Wyeth, et al.
CAC 2 04-4677 Dimitri Constas, et al. v. Wyeth, et al.
 

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DISTRICT DIV. CA#

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LL
04-4678 Roberta L. Bradley v. Wyeth, et al. =
04-4679 Joseph Hartman, et al. v. Wyeth, et al. a
04-4700 Linda Holguin v. Wyeth, et al. or
04-4709 Hattie Linton v. Wyeth, et al.

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Michelle Mato y. Wyeth, et al.

Cherilyn Masson, et al. v. Wyeth, et al.
Tawnia Cunningham v. Wyeth, et al.

Patty Wade, et al. v. Wyeth, et al.

Thelma Barbour, et al. v. Wyeth, Inc., et al.
Rebel Aitchison, et al. v. Wyeth, Inc., et al.
Patricia M. Schow v. Wyeth, Inc., et al.
Antoinette M. Coppolella, et al. v. Wyeth, Inc., et al.
Kelly Hustis v. Wyeth, et al.

Sean Harrison v. Wyeth, et al.

Diane Salvi v. Wyeth, et al. 7
Lisa Stafford, et al. v. Wyeth, et al.

Ralston Robertson, et al. v. Wyeth, et al.- - -
Norma Sandoval v. Wyeth, et al.

Ann Glucroft v, Wyeth, Inc., et al.

Kelvin Crowder y. American Home Products Corp., et al.

William Partrite v. American Home Products Corp., et al.

Charles Duran, et al. v. Wyeth, et al.

Henry Thamas, et al. v. Wyeth, et al.

Vicki Gustafson v. Wyeth, et al.

Dalton Clayton v. Wyeth, et al.

Amold Barraza v. Wyeth, et al.

Sylvia Boghossian v. Wyeth, et al.

Jennifer Caesar v. Wyeth, et al.

Linda Calderon v. Wyeth, et al.

Christy Hornsby v. Wyeth, et al.

Maritza Hernandez v. Wyeth, et al.

Renee Townsend v. Wyeth, et al.

Veronica A. Cardenas v. Wyeth, et al.

Florence Rowe v. Wyeth, etal.

Robert Fink, et al. v. Wyeth, et al.

Sandra Rivera v. Wyeth, et al.

Howard Blacknell v. Wyeth

Jeff Peterson, et al. v. Wyeth, et al. :

Charlene S. Wright v. Wyeth, et al. _
Virginia Mora v. Wyeth, et al. ,

Charles Duke, et al. v. Wyeth, et al.

Isabelle Chemla v. American Home Products Corp., et al.

Rosemary Pena, et al. v. Wyeth, et al.

Connie Martinez v. Wyeth, et al.

Glenna Stotts-Hotchkiss v. American Home Products Corp., et al.
Don R. Jordan v. American Home Products Corp., et al.

Claudia King, et al. v. American Home Products Corp., et al.

Carol Jendreas v. Wyeth, et al. :

Jane K. Reilly, et al. v. Wyeth, et al.

Lafonda Williams v. Wyeth, et al.

Brian Goddard, et al. v. Wyeth, et al.
 

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04-4998 Margie Thompson v. Wyeth, et al.
04-5000 Eileen Hollingsworth v. Wyeth, et al.
04-5001 Nita Lauer v. Wyeth, et al.

04-5002 Kristine Carroll v. Wyeth, et al.
04-5003 Edward Wisnewski v. Wyeth, et al.

" 04-5004 Darlene Padgett v. Wyeth, et al.

04-5005 Eddie Nixon v. Wyeth, et al.
04-5007 Johnelle Martinez v. Wyeth, et al.
04-5008 Leann Jeri Jones v. Wyeth, et al.
04-5009 Doris Chapman v. Wyeth, et al.
04-5010 Carol Tzimbal v. Wyeth, et al.
04-5011 Joe Miguel v. Wyeth, et al.
04-5012 Sharon Hampton v. Wyeth, et ai.
04-5013 Bobby Dutta v, Wyeth, et al.

' 04-5015 Lenora Yancy vy. Wyeth, et al.

04-5018 Danny Hamilton v. Wyeth, et al.
04-5019 Linda Glass v. Wyeth, et al.

04-5038 Suzanne Aragon, et al. v. Wyeth, Inc., et al.

04-5056 Rebekah T. Bradshaw v. Wyeth, Inc., et al.
04-5061 Regina Castillo v. Wyeth, et al
04-5066 Carolyn Benson v. Wyeth, et al.
04-5067 Julie Carter v. Wyeth, et al.
04-5068 Mimosa Cain v. Wyeth, et al.
04-5069 Shawnie Anthony v. Wyeth, et al.
04-5074 Heidi Becker v. Wyeth, et al.
04-5075 Dwan Beckham v. Wyeth, et al.
04-5077 Cynthia Gaeta v. Wyeth, et al.
04-5078 Merle Berg v. Wyeth, et al.
04-5079 Sandra Decker v. Wyeth, et al.
04-5080 Kathrene Farve v. Wyeth, et al.

04-5086 Judith Gingrich v. Wyeth, et al.

04-5087 Cynthia Covington v. Wyeth, et al.

_ 04-5088 Darren Averitt v. Wyeth, et al.

04-5094 Allyson Montague v. Wyeth, et al.
04-5103 Rosie Fabela v, Wyeth, +t al.
04-5125 Karen Daum v. Wyeth, et al.
04-5126 Janet Clayton v. Wyeth, et al.
04-5127 Janet Anderson v. Wyeth, et al.
04-5128 Sylvia Coronado v. Wyeth, et al.
04-5132 Jan Gibson v. Wyeth, et al.
04-5134 Mattie Cloyd v. Wyeth, et al.
04-5136 Stephanie Ducaine v. Wyeth, et al.
04-5137 Robert Rifkin v. Wyeth, et al.
04-5139 Susan Buck v, Wyeth, et al.
04-5140 Jennifer Daniels v. Wyeth, et al.
04-5141 Eileen Baker v. Wyeth, et al.
04-5142 Janet Clark-Klouza! v. Wyeth, et al.
04-5145 Ted Borowinski v. Wyeth, et al.
04-5146 Angie Brucelas v. Wyeth, et al,
04-5147 Lynn Banuelos v. Wyeth, et al.
04-5148 Floria Brown v. Wyeth, et al.

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SCHEDULE OF ACTIONS (CTO-129) - DOCKET NO. 1203 PAGE 5 OF 13
DISTRICT DIV. CAH ry
iLl
CAC 2 04-5150 William Spoerer v. Wyeth, et al. =
-CAC 2 04-5151 Lyle Salute v. Wyeth, et al. “ft,
CAC 2 04-5152 Rita Peters v. Wyeth, et al. ‘.
CAC 2 04-5153 Raul Salcido v. Wyeth, et al. :
CAC 2 04-5155 Cynthia M. Romero v. Wyeth Inc., et al.
CAC 2 045156 Judy Chacon v. Wyeth, et al.
CAC 2 04-5158 Nancy Sorchini v. Wyeth, et al.
CAC 2 04-5160 Linda Munro v. Wyeth, et al.
CAC 2 04-5161 Molly Soklin v. Wyeth, et al.
CAC 2 04-5162 Leslie Taitelbaum v. Wyeth, et al.
CAC 2 04-5163 Nydia Hall v. Wyeth, et al.
CAC 2 04-5164 Kelly Sperling v. Wyeth, et al.
CAC 2 04-5165 Christy Kochan v. Wyeth, et al.
CAC 2 04-5169 Seaton Blanco, et al. v. Wyeth, et al.
CAC 2 04-5226 Myron Brown v. Wyeth, et al. - Stan
CAC 2 04-5228 Colleen Andrada, et al. v. American Home Products Com,¢ et al.
~CAC 2 04-5229 -Carolyn J. Frost v. American Home Products Corp., et al. we sent eeenee
CAC 2 04-5232 Christine Lopez v. Wyeth, et al.
CAC 2 04-5233 Patience Shaw v. American Home Products Corp., et al.
CAC 2 04-5234 Sandra Keesey v. Wyeth, et al,
CAC 2 04-5235 Albert Lauziere v. Wyeth, et al.
CAC 2 04-5236 Renae Tackett v. Wyeth, et al.
CAC 2 04-5237 Betty Taylor v, Wyeth, et al.
CAC 2 04-5238 Ray Nunez v. Wyeth, etal. -
CAC 2 04-5239 Judy Read v. Wyeth, et al.
CAC 2 04-5240 lrene Hughes v. Wyeth, et al.
CAC 2 04-5241 Robert Nagaoka vy. Wyeth, et al.
CAC 2 04-5242 Ines Alvarenga v. Wyeth, et al.
CAC 2 04-5244 Camille J, Cordes-Sexton, et al. v. Ameircan Home Products 5 Corp, et al.
CAC 2° 04-5245 Karen Oliver, et al. v. American Home Products Corp., et al.
CAC 2 04-5246 Vicki Ray v. Wyeth, ct al.
CAC 2 04-5247 Kathryne E. Lucas, et al. v. American Home Products Corp., et al.
CAC 2 04-5248 Barbara Lavender v. Wyeth, et al.
CAC 2, 04-5251 Michael Dutra, et al. v, American Home Products Corp., et al. aga ten
CAC 2 04-5256 Leslie Cory v. AHP Subsidiary Holding Corp., et al.
CAC 2 04-5257 Claire Berg v. Wyeth, et al.
CAC 2 04-5258 June King v. Wyeth, et al.
CAC 2 04-5260 Lari Moore v. Wyeth, et al.
CAC 2 04-5261. Keith Owen, Jr. v. Wyeth, et al.
CAC 2 04-5262 Arlena Richardson v. Wyeth, et al.
CAC 2 04-5263 Laurie Milburn v. Wyeth, et al.
CAC 2 04-5265 Richard Caruso v. Wyeth, et al.
CAC 2 04-5266 Betty Wilson v. Wyeth, et al.
CAC 2 04-5267 Donna Brown v. Wyeth, et al.
CAC 2 04-5268 Kellie Wagner v. Wyeth, et al.
CAC 2 04-5271 Theresa Conkling v. Wyeth, et al.
CAC 2-04-5272 Joyce Cole v. Wyeth, et al.
CAC 2 04-5273 Doris Allen v. Wyeth, et al.
CAC 2 04-5274 Kathy Gioulis v. Wyeth, et al.
CAC 2 04-5275 Elisa Granados v. Wyeth, et al.
CAC 2 04-5276 Susan Cuevas v. Wyeth, et al.
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Toby Fienstein v. Wyeth, et al.
Joyce Cole v. Wyeth, et al.

Sharon Garrett v. Wyeth, et al.
Dan G. Burns v, Wyeth, Inc., et al.
Maria Lourdes Virgen v. Wyeth, et al.
Paulette Guyer v. Wyeth, et al.
Lela Jones v. Wyeth, et al.

Robert Swager v. Wyeth, et al.
Laura Williams v. Wyeth, et al.
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Carey Buckles v. Wyeth, et al.
Charlene Williams v. Wyeth, et al.
Helen Drozdziak v. Wyeth, Inc., et al.
Roberta Waller v. Wyeth, et al.
Dennis Myskow v. Wyeth, et al.
Lydia Mendez v. Wyeth, et al.
Sharon Michelsen v. Wyeth, et al.
Sylvia Loza v. Wyeth, et al.
Jackie Henning v. Wyeth, et al.
Sandi Linder v. Wyeth, et al.
Roberta Gutierrez v. Wyeth, et al.
Mary Gutierrez v. Wyeth, et al.
Gregory Hawkinson v. Wyeth, et al.
Iris Jacobberger v. Wyeth, et al.
Elizabeth Huff v. Wyeth, ct al.
Vivian Pooler v. Wyeth, et al.
Colleen Zalesny v. Wyeth, et al.
Edith Tyler v. Wyeth, et al.
Bethanie Jeness Williams v. Wyeth, Inc., et al.
Mary Schilling v. Wyeth, et al.
Karen Rose v. Wyeth, et al.
Barbara Barksdale v. Wyeth, et al.
Sharon Evans v. Wyeth, et al.
Tema Merback v. Wyeth, et al.
Dionne Cole v. Wyeth, et al.
James McManus v. Wyeth, et al.
Phyllis Hebbard v. Wyeth, et al.
Patricia Castro v. Wyeth, et al.
Gara Morton v. Wyeth, et al.
Claudia Strobel v. Wyeth, et al.
Ken Grosser v. Wyeth, et al.
Carolyn Arroyo v. Wyeth, et al.
Raquel Godinez v. Wyeth, et al.
Sandy Byers v. Wyeth, et al.

Debbie Purcella v. Wyeth, et al.

Carol Labastida v. Wyeth, et al.
Luella Spencer v. Wyeth, et al.
Sheryl Smith v. Wyeth, et al.
Rosemary Raguse v. Wyeth, et al.
Sheryl Greenhouse v. Wyeth, et al.
Vivian Tyree v. Wyeth, et al.

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CAC .2 04-5385 Sharon Timms v. Wyeth, et al. =
-CAC 2 04-5387 Joan Gates v. Wyeth, et al. A.
CAC 2 04-5388 James Saxton v. Wyeth, et al. ry
CAC 2 04-5390 Barry Emeneger v. Wyeth, Inc., et al.
CAC 2 04-5391 Christine Kendrick v. Wyeth, etal.
CAC 2 04-5392 Gillian Billetter v. Wyeth, et al.
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CAC 2 04-5405 Carol Fergeson v. Wyeth, et al.
CAC 2 04-5406 Lisa Clayton vy. Wyeth, et al.
CAC 2 04-5407 Sandra White v. Wyeth, et al.
CAC 2 04-5408 Patricia King v. Wyeth, et al.
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Janet Orona v. Wyeth, et al.

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Diana Casey v. Wyeth, et al.
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Moemi Nagaoka v. Wyeth, et al.
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Barbara Ford v. Wyeth, et al.
Colleen De Sandro v. Wyeth, et al.
Cathy Smith v. Wyeth, et al.
Vicki White v. Wyeth, et al.

Lisa Wolfe v. Wyeth

Annette Wharry v. Wyeth, et al.
Gary Moore v. Wyeth

Joel McCraw v. Wyeth

Michelle Lynch v. Wyeth, et al.
Marcia Patrick v. Wyeth,et al. -~
Cynthia Puente v. Wyeth, et al.
Leticia Sandoval v. Wyeth, et al.
Annette Regent v. Wyeth, et al.
Francine Smiderly-Lollar v. Wyeth
Tammy Walker v. Wyeth, et al.
Elizabeth Elias v. Wyeth, et al.
Nancy Katris v. Wyeth, et al.

Pat Erickson v. Wyeth, et al.
Tammy Green v. Wyeth, et al.
Tonia Washington v. Wyeth, et al.
Myron Chiavin v. Wyeth, et al.
Jack Carliske v. Wyeth, et al. -
Mary Gillion y. Wyeth, et al.
Yolanda Werts v. Wyeth, et al.
Mary Toiney v. Wyeth

Istvan Szonyi v. Wyeth, et al.
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Nickole Gonzalez v. Wyeth, et al.
Sandra Gray v. Wyeth, et al.
Felicia Crawford v. Wyeth, et al.
Bonnie Sullings v. Wyeth, et al.
Brenda Long v. Wyeth, et al.
Mary Stewart v. Wyeth, et al.
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Patricia Larsen v. Wyeth, et al.
Nicole Stephens v. Wyeth, et al.
Ann Louise Weimer v. Wyeth, et al.
Mary Barton v. Wyeth, et al.
Rosie Robinson v. Wyeth

Leoti Hemming v. Wyeth, et al.
Pervaiz Siraj v. Wyeth, et al.
Patricia Pyle v. Wyeth, et al.

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
US COURTHOUSE

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PHILADELPHIA, PA 19106-1797 a
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MICHAEL E. KUNZ October 15, 2004 CLERK’S OFFICE
CLERK OF COURT ROOM 2609

TELEPHONE
(245) 597-7704

Sherri R. Carter
District Clerk

G-8 U.S. Courthouse
312 North Spring St.
Los Angeles, CA 90012

Re: Diet Drugs MDL 1203
SEE ATTACHED LIST

Dear Clerk:

Enclosed is a certified copy (or copies) of an order of
the Judicial Panel on Multidistrict Litigation directing the
transfer of the above referenced civil action (s) to this
district under 28 U.S.C. Section 1407.

Panel Rule 19{a) has been suspended in this litigation.
Please provide only a certified co of the docket entries and a
certified co of the complaint together with any amendments to

the complaint.

 

 

DO NOT FORWARD THE ORIGINAL RECORD(S). {See Pretrial
Order #2 enclosed)

Should you have any questions regarding this request,
please call me at the number listed above.

Very truly yours,

MICHAEL E. KUN
Clerk of Cour

Sl

By: Sharon Carter
MDL Coordinator

enc.
 

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IN THE UNITED STATES DISTRICT COURT.
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: DIET DRUGS (PHENTERMINE/
FENFLURAMINE/ DEXFENFLURAMINE
PRODUCTS LIABILITY LITIGATION)

 

MDL DOCKET NO. 1203

THIS DOCUMENT RELATES ‘TO: ALL -

ACTIONS . .
_PRETRIAL ORDER #2
AND NOW, this 7 day of January, 1998, for the purposes of ,
MDL 1203 and until further notice of the transferee court, this
order changes the duties of a transferor court under Rule 19(a),

(b) and -(c) of the Rules of Procedure of the Judicial Panel on
Multidistriet Litigation as follows:

Upon receipt of a certified copy of a transfer order from
the clerk of the transferee district court, the clerk of the
‘transferor court shall retain the entire “original file ‘and .
forward to the clerk of the transferee district court only “a
certified copy of both the docket sheet and the complaints

together with amendments, if any. The clerk of the

transferor court shali mark the case closed upon transfer to’

the transferee court. Following 1 the docketing of a transfer

order in ‘the transferee court, any papers to be filed

regarding any, civil action covered by that transfer order

are to be filed in the transferee court.

 

 

é LOUIS C. BECHTLE,-J-
